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                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF TEXAS
                                             AUSTIN DIVISION

RODNEY REED,

                     Plaintiff,
                                                   §
v.                                                 §
                                                   § CIVIL CASE NO.1:19-cv-794
BRYAN GOERTZ, Bastrop County District              §
Attorney;                                          §
                                                   §
STEVE MCCRAW, Director, Texas                      §
Department of Public Safety;                       §
                                                   §
SARAH LOUCKS, Bastrop County District                CAPITAL CASE
                                                   §
Clerk; and                                         §
                                                   §
MAURICE COOK, Bastrop County Sheriff;
                                                   §
                                                   §
Defendants (sued only in their official
                                                   §
capacity).
                                                   §


                        COMPLAINT PURSUANT TO 42 U.S.C. § 1983

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                                      INTRODUCTION

       “DNA testing has an unparalleled ability both to exonerate the wrongly convicted
       and to identify the guilty.”

Dist. Attorney's Office for Third Judicial Dist. v. Osborne, 557 U.S. 52, 55, 129 S. Ct. 2308,
2312, 174 L. Ed. 2d 38 (2009) (Roberts, C.J.)


       1.      The State of Texas used DNA evidence to convict Mr. Reed, but since that

conviction has been called into question in post-conviction proceedings, the State has

consistently opposed DNA testing which is capable of proving Mr. Reed's innocence and

identifying another man as the murderer. Mr. Reed properly filed a motion for DNA testing

under the existing Texas law approximately five years ago, but his request was denied after

lengthy proceedings—including two appeals to the Texas Court of Criminal Appeals (the

"CCA"). This constitutional challenge to the Texas postconviction DNA testing statute, Article

64 of the Code of Criminal Procedure ("Article 64"), is now brought after efforts to remedy the

deficiencies in the statute in the 86th Texas Legislature were unsuccessful.

       2.      This action under 42 U.S.C. § 1983 (“Section 1983”) challenges the

constitutionality of Article 64 both on its face and as interpreted and applied by the CCA in Mr.

Reed's case. Specifically, this action raises the constitutional violations that flow from the extra-

statutory conditions that the CCA imposed on Article 64, conditions which effectively preclude

most postconviction DNA testing absent State consent and eviscerate the relief that Article 64

provides. Given the unique ability of DNA evidence to identify the perpetrator of a crime, the

CCA's adoption of non-statutory criteria to preclude Mr. Reed from testing key trial evidence in

its possession to prove his innocence violates fundamental notions of fairness and denies him due

process of law and access to the courts.




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       3.      Accordingly, Mr. Reed seeks a declaration that the denial of DNA testing to Mr.

Reed under Article 64, as interpreted and applied by the Texas courts, violates his rights under

the First, Fifth, Eighth and Fourteenth Amendments to the United States Constitution. Mr. Reed

also seeks injunctive relief compelling defendants, who are sued in their official capacities only

as the custodians of the evidence at issue, to release such evidence for forensic DNA testing.

Relief under Section 1983 is warranted when a state's post-conviction DNA testing scheme is

applied in a manner that violates constitutional principles of fundamental fairness or due process.

See Osborne, 557 U.S. at 69. Relief is necessary here to preserve Mr. Reed's liberty interest in

accessing the Texas statutory procedure to conduct forensic DNA testing and to use that DNA

evidence to prove his innocence.

                                         JURISDICTION

       4.      This Court has jurisdiction under 28 U.S.C. §§ 1331, 1343, 1651, 2201 and 2202,

and under 42 U.S.C. § 1983.

                                             VENUE

       5.      Venue lies in this Court under 28 U.S.C. § 1391 because the events or omissions

that gave rise to this action took place in the Western District of Texas and each of the

defendants maintains an office in this district. See 28 U.S.C. § 1391(b) (2016).

                                            PARTIES

       6.      Plaintiff Rodney Reed is a resident of Bastrop County Texas and is incarcerated at

the Polunsky Unit of the Texas Department of Criminal Justice in Livingston, Texas. Mr. Reed

is sentenced to death by the 21st Judicial District Court of Texas (the "District Court").




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        7.       Defendant Bryan Goertz is the Bastrop County District Attorney.1 Defendant

Goertz has opposed Mr. Reed's request to conduct DNA testing on the items of evidence at issue

in this case. A district attorney who opposes DNA testing is a proper defendant in a section 1983

action seeking DNA testing. See, e.g., Skinner v. Switzer, 562 U.S. 521 (2011) (suit against

District Attorney); Elam v. Lykos, 470 Fed. Appx. 275 (5th Cir. 2012) (same). Defendant Goertz

is sued in his official capacity only and for declaratory relief.

        8.       Defendant Sarah Loucks is the Bastrop County District Clerk. She maintains an

office in Bastrop, Texas. Defendant Loucks has custody of certain evidence specified in Exhibit

A. Defendant Loucks is sued in her official capacity only and only for injunctive relief.

        9.       Defendant Maurice Cook is the Bastrop County Sheriff. He maintains an office in

Bastrop, Texas. Defendant Cook is the ultimate supervisor of the Bastrop County Sheriff's

Office, which has custody of certain evidence specified in Exhibit A. Defendant Cook is sued in

his official capacity only and only for injunctive relief.

        10.      Defendant Steve McCraw is the Director of the Texas Department of Public

Safety. He maintains an office in Austin, Texas. Defendant McCraw is the ultimate supervisor

of the Department of Public Safety Crime Lab which has custody of certain evidence specified in

Exhibit A. Defendant McCraw is sued in his official capacity only and only for injunctive relief.

                                       FACTUAL BACKGROUND

        A.       The Murder of Stacey Stites, Investigation, and Collection of Evidence

        11.      Stacey Stites was reported missing after she failed to arrive for her early morning

shift at the Bastrop H.E.B. on the morning of April 23, 1996. She was alleged to have been

traveling in her fiancé Jimmy Fennell's red pickup truck, which was found that morning in the

1
    The Defendants are sued only in their official capacities. The suit is brought reluctantly against the Defendants
    individually in an abundance of caution because sovereign immunity and other jurisdictional issues may impede
    bringing a cause of action against the State of Texas and/or the county agencies the Defendants serve.

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Bastrop High School parking lot. Immediately outside of the locked driver side door were some

papers and a broken portion of Ms. Stites's leather woven belt, as pictured below:




       12.      Later in the day, a passerby discovered Ms. Stites's body in the brush along an

unpaved road in rural Bastrop County, Texas. As pictured below, the murderer left the other half

of Ms. Stites's belt at the side of the road in a position that pointed directly towards her body:




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       13.        An autopsy confirmed that the murderer used the woven leather belt to strangle

Ms. Stites. Accordingly, the killer forcefully gripped the belt with both hands for a substantial

period of time.

       14.        Neither portion of the belt has ever been tested for DNA even though the evidence

remains in the custody of the Bastrop District Clerk under lock and key.

       15.        The Bastrop Clerk's office representative testified that the belt sections and other

relevant evidence in that office's custody listed on Exhibit A, has always been securely

maintained, and has never been tampered with or replaced. Both portions of the belt, along with




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other evidence identified in Exhibit A, are in a condition in which today's sophisticated DNA

tests can extract valuable identifying biological information.

       16.      Multiple additional items of evidence collected during the investigation of Ms.

Stites's murder have also been kept secure by the various defendants and have never been

subjected to DNA testing despite the possibility that they may contain DNA from the murderer.

These untested items are detailed in Exhibit A. Like the belt sections, these items of evidence

remain secure under lock and key, have never been tampered with or replaced, likely contain

biological material that can yield probative results if subjected to DNA testing, and are in a

condition suitable for DNA testing.

       17.      In 1996, Fennell was a police officer in Giddings, Texas. For months after the

body was found, Fennell was a suspect in his fiancé’s murder. When initially interviewed by

police during the investigation, Fennell claimed that he and Ms. Stites spent the evening of April

22, 1996 at home together. After Fennell was found deceptive on a second polygraph test, he

refused to cooperate further with the investigation and asserted his Fifth Amendment Rights

against self-incrimination. However, the investigation of Fennell was superficial. Inexplicably,

investigators never searched the apartment that Fennell shared with Ms. Stites for signs of foul

play or other probative evidence.

       18.      Fennell's behavior before and after Ms. Stites's murder was unusual. Although it

did not contain much money, Fennell closed his bank account the morning of April 23, 1996

while Ms. Stites was still missing. Fennell told police and later testified that he had not had sex

with Ms. Stites for several days because she was on the "green pill" on her birth control

medication and that he had been told that there was a higher risk of pregnancy during that time.

Merrill Lewen, M.D., a Houston area Board Certified OB/GYN has reviewed this statement and



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concluded that it is false. Fennell gave another false statement on the morning of Ms. Stites's

disappearance when he told police he had filled his truck with gas the night before. He changed

his story a few days later when police discovered the truck's gas tank was less than ¼ full.

Fennell also testified to agreeing with Ms. Stites that she would drive his truck to work the next

morning. However, Carol Stites, Ms. Stites's mother, remembered Fennell insisting on the

evening of April 22 that he drive Ms. Stites to work the next morning. Fennell disposed of the

truck shortly after Ms. Stites's body was recovered.

       19.      In 2016, it came to light that Fennell made other inconsistent statements which

suggest his culpability in the murder. In an interview with CNN, Curtis Davis, Fennell's best

friend at the time, recounted a private conversation he had with Fennell on the morning Ms.

Stites was reported missing, but before her body was found. Contrary to what Fennell told police

and later testified to at Mr. Reed's trial, Fennell told Davis that, on the night of April 22, 1996, he

came home late because he had been out drinking beer with other officers after his youth

baseball team's evening practice and did not come home until late at night. Davis was not

interviewed about Fennell during the investigation, and Fennell’s statements to Davis (a career

Bastrop Sheriff’s Officer) were not disclosed until the 2016 interview, after which Davis was

officially reprimanded by the Bastrop County Sheriff for speaking publicly about the case.

       20.      Fennell's inconsistent statements regarding his whereabouts and activities on the

night of April 22, 1996 are particularly significant because the condition of Ms. Stites's body

indicates that she was murdered several hours before her body was transported in Fennell's truck

and left in the remote location where she was found. Prominent forensic pathologists have

reached the unrebutted conclusion that Fennell’s testimony that Ms. Stites was abducted and




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murdered while on her way to work at around 3:30 a.m. is medically and scientifically

impossible.

       21.      Rodney Reed later became a suspect when investigating officers identified him as

the source of a small amount of semen collected from Ms. Stites's vaginal cavity and underwear.

After Mr. Reed was indicted for the murder, Fennell waived his Fifth Amendment rights as

previously asserted and testified for the State at Mr. Reed's trial as to his activities that evening.

Fennell's trial testimony generally conformed with his prior statements to the police and again

contradicted what he told his best friend, Bastrop Sheriff's Officer Curtis Davis, on the morning

of April 23, 1996, before Ms. Stites's body was found. Fennell's trial testimony omitted entirely

his conversation with Davis.

       22.      Fennell was a principal suspect in the killing of Ms. Stites for more than a year

after her death—long after it was determined that he was not the source of the semen collected

from Ms. Stites. Investigators eventually claimed to have dismissed Fennell as a suspect when

they could not account for his presence at the couple's apartment on the morning of April 23,

1996 without his truck, but they did not thoroughly investigate whether Fennell may have had an

accomplice.

       23.      Around the time of the murder, Fennell was the subject of several complaints

alleging racial bias and use of excessive force at the Giddings Police Department where he

worked.      After Ms. Stites's death, Fennell was described by a subsequent girlfriend as

emotionally abusive, controlling, and virulently racist. She described him stalking her home and

harassing her friends after she ended the relationship with Fennell. Fennell later abused his

position as a police officer while working for the Georgetown Texas Police Department. Fennell

was recently released from prison, after serving a ten-year prison sentence stemming from



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charges that he abducted and raped a young woman that he was called out to protect while on

duty. When confronted with this allegation, Fennell falsely denied responsibility. A subsequent

Texas DPS investigation of Fennell revealed that the assault for which he was convicted was part

of a pattern of sexual violence by Fennell against women.

       24.     Before Ms. Stites was killed, Fennell was overheard on multiple occasions saying

that if Ms. Stites were to cheat on him, he would kill her. At least once, he specifically stated that

he would strangle her with a belt.

       25.     Notwithstanding investigators' initial suspicions of Fennell, his inconsistent

statements to investigators, and his having been found to have answered deceptively in two

polygraph examinations, the prosecution embraced Fennell's version of the murder timeline and

presented it as their own at trial. Fennell testified at Mr. Reed's trial in 1998 that on the evening

of April 22, 1996, he returned home from baseball practice around 7:30 to 8 p.m., and he and

Ms. Stites spent a quiet evening at home. He testified that the two showered together, that she

went to sleep around 9 p.m., and that he stayed up watching TV. Fennell testified that Ms. Stites

had likely taken his truck and left for her early-morning shift at the Bastrop H.E.B. grocery store

at her usual time of 2:30 to 3 a.m., although he was asleep when she left. Fennell, who gave an

entirely different account of his activities and whereabouts around the time of the murder to his

best friend and Bastrop County Sheriff’s Officer Curtis Davis, was the last person to see Ms.

Stites alive. At a 2017 habeas hearing regarding Fennell's statements to Officer Davis, Fennell

refused to testify and improperly invoked the Fifth Amendment rights that he had previously

waived.




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          B.       The Trial of Rodney Reed

          26.      The State's theory of the crime was entirely speculative. At Mr. Reed's 1998 trial,

relying largely on Fennell's testimony to establish a timeline, the State contended that Ms. Stites

left their apartment alone in Fennell's truck between 2:30 and 3:30 a.m. on the morning of April

23, 1996. The State further claimed that Mr. Reed must have stopped Ms. Stites as she drove

past his neighborhood in central Bastrop and then abducted, raped and murdered her—leaving

her body off an unpaved road out of town and then abandoning the truck in the Bastrop High

School parking lot. The State did not present a single eyewitness to any of these events.

          27.      Mr. Reed argued in defense that his semen was found because he and Ms. Stites

were having an affair, which they kept secret because Ms. Stites was engaged. At a bond hearing

after Mr. Reed's arrest and later at trial, witnesses testified to seeing Ms. Stites and Mr. Reed

together at various times prior to her murder.

          28.      There was no evidence connecting Mr. Reed to the scenes where Ms. Stites's body

was found or where the truck was abandoned. The only suggestion that Mr. Reed may have

driven Fennell’s truck was based on racially charged observations that the driver's seat was

reclined and a smudge on the rear window could have been made by the kind of hair products

black people use.

          29.      In most murder cases, the time of death is typically established through a number

of customary forensic markers, such as core body temperature, lividity, and bodily discharge.

Not so here. Instead, the evidence the State used to infer Ms. Stites's time of death, and Mr.

Reed's alleged role in her murder rested almost entirely on the timeline provided by Fennell and

three intact spermatozoa2 found in samples taken from Ms. Stites's body. DNA testing of those


2
    There are over 150 million spermatozoa in the average ejaculation by a fertile male.
    See https://www.who.int/reproductivehealth/topics/infertility/cooper_et_al_hru.pdf

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samples associated them with Mr. Reed. The State then presented uncontradicted testimony from

three experts that, as a matter of scientific fact, intact spermatozoa cannot be found in the vaginal

cavity more than approximately 24-26 hours after intercourse. Based on this asserted scientific

fact, the State argued that the intact condition of three sperm proved that Mr. Reed had

intercourse with Ms. Stites at or near the time of her death and, therefore, must have killed her.

This central expert testimony relied on by the State to convict Mr. Reed has since been recanted,

retracted and proven false. See infra at ¶¶ 56-59.

         30.      Mr. Reed was convicted of capital murder and subsequently sentenced to death

based largely on this faulty scientific evidence.

         C.       Reed's First DNA Testing Motion

         31.      As part of his initial state habeas proceedings, Mr. Reed filed a motion for DNA

testing of various items of evidence, including Ms. Stites's belt and clothing. That motion was

denied in a summary order on May 27, 1999.

         D.       Mr. Reed’s Second DNA Motion

         32.      On July 14, 2014, Mr. Reed filed a motion in the District Court seeking forensic

DNA testing pursuant to Article 64 (the "Article 64 Motion") of certain evidence items,

including items recovered from the location where Ms. Stites's body was found and from the

location of the truck.

         33.      Despite the apparent availability of the elected 21st District Court Judge in whose

court the case was filed,3 the Article 64 Motion was assigned to Retired Judge Doug Shaver.




3
    Other matters relating to the case had initially been assigned to 335th District Court Judge Reva Townslee
     Corbett, who recused herself because her father had presided over Mr. Reed's trial.

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        34.      On November 25, 2014, the District Court held a one-day evidentiary hearing on

Mr. Reed's Article 64 Motion. Reed presented the testimony of John Paolucci, an expert in

crime scene investigation, and Deanna D. Lankford, M.T., an expert in DNA testing.

        35.      Reed's experts testified that many evidence items recovered by the State from

both scenes would contain potentially exculpatory DNA evidence if subjected to DNA testing.

They further testified that this evidence was in a suitable condition for testing using modern

"touch DNA" technology to identify cells left by other individuals present at the crime scenes.

        36.      The State did not rebut the testimony of Mr. Reed's DNA expert and relied instead

on an employee of the Attorney General's Office4 who claimed that the evidence in the

possession of the Bastrop County District Clerk was contaminated because of the manner in

which the evidence was stored.             This testimony was presented by the State as evidence

supporting its contention that a proper chain of custody could not be established as required

under Chapter 64.

        37.      However, Bastrop District Court Clerk Etta Wiley, the custodian of the evidence,

testified that she was responsible for the evidence at the clerk's office and that the evidence was

secured "under lock and key" and that she was confident that it had "not been substituted,

replaced, tampered with, or materially altered."

        38.      At the conclusion of the hearing, Retired Judge Shaver rendered a brief verbal

ruling expressing his intent to deny Mr. Reed's Article 64 Motion and requested that the State

draft proposed findings on the matter. On December 16, 2014, he affixed his signature to the

State's proposed findings of fact and conclusions of law (the "Initial Findings"), adopting them

verbatim as his own. A copy of these findings is attached as Exhibit B.


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    Counsel for the State in these proceedings included attorneys from the Office of the Attorney General of Texas
    who were deputized as special assistant Bastrop District Attorneys.

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       39.     Mr. Reed timely appealed the Initial Findings to the CCA, and on June 29, 2016,

the CCA entered an order finding that the District Court failed to make certain requisite findings

regarding the elements of Article 64 for the items which Reed sought to test, including: (1)

whether the item still exists and is in a condition making DNA testing possible; (2) whether the

item has been subjected to a chain of custody sufficient to establish that it has not been

substituted, tampered with, replaced, or altered in any material respect; (3) whether there is a

reasonable likelihood that the item contains biological material suitable for DNA testing; and (4)

whether identity was or is an issue in this case. The CCA's June 29, 2016 Order remanded the

proceeding to the District Court and directed it to make findings on the elements which had been

omitted from the Initial Findings. Reed v. State, No. AP-77,054, 2016 WL 3626329 (Tex. Crim.

App. 2016).

       40.     The proceedings on remand were marred by procedural irregularity. Given the

passage of approximately nineteen months between the evidentiary hearing (November 2014)

and the CCA's remand order (June 2016), Mr. Reed proposed an in-person court appearance at

which the parties could present argument in favor of their proposed findings. The State opposed

Mr. Reed's request and moved for entry of a scheduling order requiring the parties to submit

proposed findings of facts and conclusions of law. Retired Judge Shaver granted the State's

motion, and the parties thereafter filed their proposed findings.

       41.     The parties' proposed findings were in direct conflict as to two disputed Article 64

elements: (1) chain of custody as to the items maintained by the Bastrop County District Clerk's

Office, and (2) whether there was a reasonable likelihood that certain items contain biological

material suitable for DNA testing.




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       42.     On September 15, 2016, Retired Judge Shaver signed and submitted both parties'

proposed findings to the CCA without explanation for his two wildly inconsistent rulings in the

same matter. True and correct copies of each of the District Court's September 15, 2016 sets of

findings and conclusions are attached to this complaint as Exhibits C (drafted by Mr. Reed) and

D (drafted by the State).

       43.     The State promptly sought to remand the competing signed findings back to

Retired Judge Shaver for clarification.     The State's remand motion stated that "For some

findings, this [the two sets of findings and conclusions] does not pose a problem, but for others,

it does. For example, the State proposed that chain of custody had not been shown for certain

items, but Appellant asserted to the contrary that it had….Both cannot be right and resolution of

the convicting court's intent is therefore necessary." (emphasis added).

       44.     On September 23, 2016, Retired Judge Shaver then sent an unsolicited letter to

the CCA stating only that he had meant to rule in favor of the State:




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       On October 3, 2016, the CCA denied the State's motion to remand and a motion by Mr.

Reed to strike Retired Judge Shaver's unsolicited letter.

       45.     On April 12, 2017, the CCA affirmed the District Court's denial of Mr. Reed's

Article 64 motion.

       46.     The CCA opinion discusses some of Retired Judge Shaver’s findings, but does

not disclose the fact that Retired Judge Shaver actually adopted two diametrically-opposed sets

of findings of fact and conclusions of law in ruling on the Article 64 Motion, nor does it identify

whether the findings discussed came from those proposed by the State or by Reed. Mr. Reed's

motion for reconsideration was denied by the CCA on October 4, 2017. Reed v. State, 541

S.W.3d 759, 762 (Tex. Crim. App. 2017), reh'g denied (Oct. 4, 2017), cert. denied, 138 S. Ct.

2675, 201 L. Ed. 2d 1071 (2018).




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        E.       The CCA’s Arbitrary Interpretation of Article 64 in Mr. Reed’s Case
                 Prevents Access to Potential Evidence of Innocence

        47.      In seeking DNA testing in state court, Mr. Reed proved each of the statutory

requirements of Article 64 through expert testimony that the crime scene evidence he seeks to

test (1) exists in the State's custody; (2) is in a condition suitable for DNA testing; (3) has not

been substituted, tampered with or materially altered; and (4) potentially contains probative

forensic DNA results that could both exculpate Mr. Reed and identify another person as

responsible for the murder.

                 Novel and Arbitrary Chain of Custody Requirement

        48.      Despite Mr. Reed's proof of his entitlement to relief under the plain language of

Article 64, the CCA applied a novel construction of the traditional chain of custody requirement

such that the then customary storage of evidence together in a box by state officials, and the

routine handling of such evidence by trial officials, negated the chain of custody.

        49.      On its face, Article 64's chain of custody requirement merely requires the district

court to make a finding (without assigning a burden of proof) that the evidence is what it

purports to be – that it "has been subjected to a chain of custody sufficient to establish that it has

not been substituted, tampered with, replaced, or altered in any material respect."                   Chain of

custody is a well-established concept under Texas law. Mr. Reed had no notice that the Court

would read an entirely different definition into the text of Article 64.5

        50.      It is undisputed that none of the evidence Mr. Reed seeks to test is a substitute or

replacement for the actual crime scene evidence, and that no person has altered or tampered with

any of the items. It is also undisputed that each item of evidence Mr. Reed seeks to test is what it

purports to be, i.e., the broken sections of the belt comprise the murder weapon, the employee

5
    Stoker v. State, 788 S.W.2d 1, 10 (Tex. Crim. App. 1989) abrogated on other grounds by Horton v. California,
    496 U.S. 128 (1990); Lagrone v. State, 942 S.W.2d 602, 617 (Tex. Crim. App. 1997).

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name tag is the one investigators found placed in the crook of Ms. Stites's knee, and the clothing

is the clothing removed from Ms. Stites's body. Thus, the CCA has arbitrarily grafted non-

statutory barriers onto Article 64 that have deprived Mr. Reed of his liberty interest in proving

his innocence with new evidence under state law.

       51.     The CCA’s arbitrarily imposed and novel chain of custody requirement also stems

from its arbitrary limitation on the potential “exculpatory results” from DNA testing that the

CCA is willing to consider when deciding whether to grant DNA testing under under Article 64.

DNA expert Lankford testified that issues of contamination could be resolved if DNA testing

identified a known offender through the CODIS DNA database or produced a consistent DNA

profile on both items that were comingled and those stored separately.

               Arbitrary Finding of Unreasonable Delay

       52.     The CCA also unconstitutionally applied the element of unreasonable delay.

Contrary to the findings of state courts, Mr. Reed has for years been persistent in his pursuit of

post-conviction relief and DNA testing. He utilized the rudimentary DNA technology that was

available at the time of trial. He again sought DNA testing as part of his initial postconviction

proceedings in 2001. This request was summarily denied by the trial court, and Mr. Reed

continued to litigate his innocence based on other evidence until his Motion for DNA testing was

brought in 2014 under the recently amended Article 64. This statutory amendment was enacted

to allow for DNA testing of touched items for skin cells, which is precisely the type of DNA

testing sought in Mr. Reed’s motion. By finding that Mr. Reed’s request for DNA testing was

brought for an improper purpose, the Texas courts' have arbitrary applied the unreasonable delay

prong of the statute to deny Mr. Reed DNA testing in violation of Mr. Reed's constitutional

rights, especially when the CCA acknowledged that Mr. Reed's "Chapter 64 motion largely



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hinges on the newly available analysis of touch DNA" and such testing was unavailable under

the Statute prior to its amendment. See CCA Op. at 9; see also Swearingen v. State, No. 99-11-

06435-CR (9th Dist., Montgomery County, Tex. June 10, 2013).

               Arbitrary Prohibition on Consideration of Additional Exculpatory Evidence

       53.     The CCA, and the District Court, denied DNA testing based, in part, on factual

assertions from trial that have since been disproven.

       54.     At the 2017 evidentiary hearing in Mr. Reed's state habeas proceedings, world-

renowned forensic pathologist, Dr. Michael Baden testified as an expert witness. His testimony

was consistent with his report that is attached as Exhibit E. Dr. Baden’s testimony proved that

the State's theory of Mr. Reed's guilt was false for at least three reasons:

       55.     First, the State claimed that Ms. Stites had been sexually assaulted at the time of

her murder. Dr. Baden examined the evidence and explained in his report and in his testimony

at the hearing that Ms. Stites had not been sexually assaulted. He found absolutely "no forensic

evidence that Ms. Stites was sexually assaulted in any manner."

       56.     Second, although no physical evidence placed Mr. Reed in Fennell's truck, the

State repeatedly claimed that the minimal amount of semen taken from Ms. Stites's body was the

"smoking gun" that tied him to her murder at the 2017 hearing. But the medical examiner who

testified in support of the State's argument at trial, Dr. Robert Bayardo, has since recanted his

trial testimony in a sworn affidavit. This affidavit is attached as Exhibit F. Dr. Bayardo's

affidavit states that sexual contact between Ms. Stites and Mr. Reed occurred more than twenty-

four hours prior to her death, corroborating Mr. Reed's assertion that he and Ms. Stites had

consensual relations at least a day before her murder. At the evidentiary hearing, Dr. Baden

testified that Mr. Reed's semen was deposited at least a full day before Ms. Stites was killed, thus



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confirming Dr. Bayardo’s sworn affidavit. These opinions are also confirmed by Dr. Werner

Spitz, author of the seminal textbook on forensic pathology, Spitz and Fisher's Medicolegal

Investigation of Death: Guidelines for the Application of Pathology to Crime Investigation. Dr.

Spitz’s report is attached as Exhibit G.

        57.     In addition to Dr. Baden, Dr. Bayardo, and Dr. Spitz, additional forensic

experts—including Dr. LeRoy Riddick, M.D., Joseph Warren, Ph. D., and Ronald Singer,

M.S.— have confirmed Dr. Bayardo's account that the State's timeline based on the presence of

sperm in Ms. Stites's body was not reliable. These experts also demonstrated that the State's

assertion that sperm can only last within the human body for no more than 24 to 26 hours is

scientifically false.

        58.     Third, Dr. Baden's testimony flatly rebutted the flimsy timeline the State

presented at trial through Fennell. The State argued that Ms. Stites was killed after leaving for

work on the morning of April 23, 1996. In his report and testimony at the evidentiary hearing,

Dr. Baden explained why the State's timeline was "not possible." Dr. Baden examined the

evidence and demonstrated that Ms. Stites was murdered before midnight on April 22, 1996, the

very time when, according to Fennell’s testimony, the two were home in bed together.

Specifically, Dr. Baden examined the lividity present in Ms. Stites's body and concluded, among

other things, that "[w]hen [Ms. Stites] was killed…she lay face down in one spot for at least four

or five hours before she was moved…by the car where she had some evidence of decomposition,

until she was placed in this…roadside area, on her back."       Dr. Spitz similarly noted that his

review of the case lead him to conclude that, "Stacy Stites was murdered prior to midnight on

April 22, 1996" and "[t]he lividity…on Stites's face, shoulder, and arm, scientifically proves that

she was dead in a position different from that which she was found for a period of at least 4-5



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hours." He went on to say that, "The presence of lividity in these non-dependent areas makes it

medically and scientifically impossible that Stites was killed between 3-5am on the date in

question…It is impossible that Stites was murdered and left at the scene in the two-hour time

frame asserted by the State at trial."

        59.     This new evidence establishes that the State's timeline and theory that Mr. Reed

raped Ms. Stites and killed her immediately thereafter is false. The assertion that Mr. Reed's

semen must have been left close at the time of Ms. Stites death has been definitively refuted,

along with Fennell's claim that Ms. Stites left for work around 2:30 to 3:30 a.m. on April 23,

1996.

        60.     The State has not presented any expert to contradict the scientific evidence of

innocence discussed above, and the State’s trial experts (or their employing agents) have

retracted the opinions offered at trial.

        61.     Mr. Reed was convicted because his DNA was linked by expert testimony to a

purported sexual assault the State claimed was contemporaneous with the murder.

        62.     The Texas Department of Public Safety (who employed criminalist Karen

Blakely), the Bode Cellmark Forensics Laboratory (who employed the State's retained expert

Meghan Clement), and former Travis County Medical Examiner Dr. Roberto Bayardo have all

now acknowledged that the scientific opinions offered by the State to tie Mr. Reed to the murder

were in error. See Exhibit H (Letter from DPS); Exhibit I (report from Bode); Exhibit F (Bayardo

affidavit). This is because it is a scientific fact that sperm can survive intact longer than twenty-

six hours; indeed, the actual time period is proven to be much longer.

        63.     The CCA's opinion denying DNA testing arbitrarily fails to take into account any

of the foregoing newly discovered evidence, which negates the State’s evidence against Mr.



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Reed. Instead, the CCA cites the very same "scientific" evidence used to support the State’s

timeline that has since been recanted or proven false, and fails to even acknowledge that this

evidence has been roundly rejected in the scientific community. The CCA further fails to

recognize the exculpatory potential of crime scene evidence by summarily dismissing the

mountain of evidence of third-party guilt Mr. Reed has presented linking Fennell to the murder.

       Denial of Article 64 Motion Deprives Access to Other Available Remedies

       64.     The Texas courts' arbitrary construction and application of Article 64's statutory

requirements also unconstitutionally denied Mr. Reed his due process rights and his right to

access available statutory remedies.    Further, proceeding with Mr. Reed's execution while

arbitrarily denying DNA testing capable of proving his innocence would violate the Eighth

Amendment’s prohibition on cruel and unusual punishment. If DNA testing reveals exculpatory

results, Articles 11.071, 11.073, and 64.04 of the Texas Code of Criminal Procedure provide

procedures for adjudicating Mr. Reed's innocence and overturning his conviction and death

sentence. Exculpatory DNA results can also provide the basis for a request for executive

clemency under Texas law. Moreover, exculpatory DNA results can provide the factual basis for

a showing of innocence necessary for the Federal Courts to consider a successive federal habeas

petition pursuant to 28 U.S.C. §2244.

       65.     Article 64 tracks the traditional legal standard for proof of chain of custody, the

purpose of which is to authenticate evidence by establishing that the evidence is what the

proponent says it is. The CCA has repeatedly applied this standard to uphold the admission of

evidence offered by the State as evidence of guilt, including DNA results from evidence that had

been handled before, during and after trial. Evidence is routinely admitted in Texas criminal

cases absent evidence of fraudulent tampering, substitution, alteration or other fraud.



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        66.     The CCA interprets the same chain of custody standard in Chapter 64 cases in a

contrary manner, to require additional proof that the evidence is not only what it purports to be,

but also that the evidence has been stored by the State in a manner such that no additional DNA

was added. This contrary interpretation is arbitrary and deprives Mr. Reed of fundamental

constitutional rights.

        67.     The CCA's unprecedented interpretation and application of Article 64 will

automatically deny Article 64 relief to any person convicted before rules governing the State's

handling and storage of evidence were put in place, and preclude such persons from proving

innocence through newly available DNA analysis.           In fact, the CCA's interpretation and

application of Article 64 will preclude Article 64 relief any time that the State contends that the

DNA profile of evidence, including evidence secured at the crime scene, was changed,

irrespective of whether that evidence retains the ability to reliably demonstrate innocence.

        68.     Despite the powerful and unrebutted evidence of Mr. Reed's innocence, he

continues to be denied relief on grounds that cannot withstand constitutional scrutiny.

        69.     Mr. Reed has a constitutional right to access and utilize the Texas statutory DNA

testing procedure in a fair and due-process-compliant manner, to exonerate himself by

identifying the person whose DNA is on the belt that was used to murder Stacey Stites, as well as

the clothing, name tag and other items that her killer likely touched. The CCA's tortured, results-

driven and utterly unfair interpretation and application of Article 64 denies Mr. Reed basic

constitutional protections.




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                                    CLAIMS FOR RELIEF

       First Claim for Relief: Denial of Due Process

       70.     Mr. Reed re-alleges and incorporates herein by reference the allegations contained

in all the preceding paragraphs of this Complaint.

       71.     Pursuant to Article 64, when an individual sentenced to death, such as Mr. Reed,

presents a motion that requests DNA testing of biological material that both still exists in a

condition that makes testing possible, and also could yield exculpatory results, he or she is

entitled to have the evidence tested. Vernon’s Ann. Texas C.C.P. Art. 64.03 (2017). If testing

successfully produces an unidentified DNA profile, that profile must be compared to the FBI's

CODIS database, and the database established by the Department of Public Safety. Vernon's

Ann. Texas C.C.P. Art. 64.035 (2011). Exculpatory DNA results obtained under Article 64 are

considered by the trial court, and the movant is entitled to a determination of whether those

results prove innocence. Vernon’s Ann. Texas C.C.P. Art. 64.04 (2011).

       72.     Exculpatory DNA results are accepted under Texas law as evidence which can be

used to prove a claim for habeas relief based on innocence, false or misleading testimony, and

other constitutional violations brought under Article 11.071 of the Texas Code of Criminal

Procedure. Exculpatory DNA results can also be used as evidence to prove a claim for a new

trial pursuant to Article 11.073 of the Texas Code of Criminal Procedure, and may be considered

by the Board of Pardons and Paroles and the Texas Governor in an available request for

executive clemency. See State v. Holloway, 360 S.W.3d 480, 489 n.58 (Tex. Crim. App. 2012),

abrogated on other grounds by Whitfield v. State, 430 S.W.3d 405 (Tex. Crim. App. 2014).

       73.     Because the State of Texas has created a procedure through which convicted

persons can obtain DNA testing and then utilize exculpatory results from that testing to secure a



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declaration of innocence, habeas relief, a new trial, executive clemency and potentially other

relief from their convictions, the processes employed by the State for obtaining access to DNA

must not violate fundamental fairness. See Osborne, 557 U.S. at 69; Skinner v. Switzer, 562 U.S.

521 (2011); Elam v. Lykos, 470 F. App'x 275, 276 (5th Cir. 2012) ("While there is no

freestanding right for a convicted defendant to obtain evidence for post-conviction DNA testing,

Texas has created such a right, and, as a result, the state provided procedures must be adequate to

protect the substantive rights provided."); Emerson v. Thaler, 544 F. App'x 325, 327 (5th Cir.

2013) ("Although states are under no obligation to provide mechanisms for postconviction relief,

when they choose to do so, the procedures they create must comport with due process and

provide litigants with a fair opportunity to assert their state-created rights.").

        74.     The CCA's interpretation and application of Article 64 in Mr. Reed's case violates

fundamental fairness in several ways. First, the CCA's flawed construction of the chain of

custody requirement of Article 64 resulted in the erroneous exclusion from eligibility for testing

the majority of key pieces of evidence introduced at trial, including pieces of the belt used to

strangle Ms. Stites, her clothing, and several other crucial pieces of evidence likely touched by

the murderer.

        75.     The CCA incorrectly found that these significant pieces of physical evidence were

excluded by this requirement because they were potentially contaminated by poor storage

procedures or the ungloved handling of evidence in court. The CCA ignored the unrebutted

testimony of Mr. Reed's DNA expert that the potential additional DNA did not preclude

probative results, and such evidence could still be successfully tested.




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       76.      This failure to appropriately apply the chain of custody requirement imposed by

Article 64 resulted in the exclusion of the majority of the key evidence in this case, testing of

which could exonerate Mr. Reed.

       77.      Second, the manner in which the CCA adjudicated Mr. Reed's appeal was

arbitrary in its own right.      The CCA's arbitrary limitation of "exculpatory results" to be

considered pursuant to article 64.003 of the Code of Criminal Procedure ignores the clear

inculpatory inferences from identifying DNA of a known offender on the evidence or finding the

same unidentified DNA profile on both properly stored items and those which could have been

contaminated.

       78.      Additionally, the CCA's failure to clarify, acknowledge, or even differentiate

between the inconsistent competing findings of fact and conclusions of law signed by the District

Court—on which its opinion relies—violates Mr. Reed's Due Process rights. As explained

above, on remand the District Court signed two diametrically opposing and irreconcilable sets of

findings of fact and conclusions of law submitted by the State and Mr. Reed. The CCA's

subsequent opinion did not vacate either set of findings and conclusions, yet said nothing about

this error, while the CCA both agreed and disagreed with various findings of the District Court

without indicating which of the two sets of findings it was addressing. The CCA simply notes

that "[a]fter remand, the judge made supplemental findings of fact and conclusions of law." This

breakdown in the procedures afforded to petitioners under Article 64 also violates Mr. Reed's

procedural Due Process rights.

       79.      Finally, the CCA's interpretation of Article 64's requirement that the petitioner

show that he or she would not have been convicted if exculpatory DNA results were produced

ignores the most powerful aspects of DNA testing and excludes from consideration evidence



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tending to inculpate third parties. In conducting this analysis, the CCA expressly excludes all

DNA results that inculpate a third party, instead focusing only on those results that exclude the

movant as a contributor. This violates due process. Cf Chambers v. Mississippi, 410 U.S. 284

(1973) (trial court's exclusion of evidence that inculpated a third party resulted in denial of a trial

in accord with fundamental standards of due process).

       80.     The District Court and the CCA also violated Mr. Reed's due process rights by

relying on trial evidence which has since been recanted, discredited and proven false to deny

request for DNA testing under Article 64. The CCA specifically relied on the District Court's

"conclusion" that "[t]he State's case on guilt-innocence was strong," its finding that the evidence

showed Mr. Reed's "presence" and that "sexual assault occurred contemporaneously with the

murder." Reed v. State, 541 S.W.3d 759, 773 (2017). Not a single expert witness still supports

this conclusion. Additional experts, including world renowned forensic pathologists Dr. Michael

Baden and Dr. Werner Spitz, have provided unrebutted forensic conclusions which completely

eliminate the scientific foundation for the State's case against Mr. Reed.

       81.     The CCA's unreasonable interpretations of Article 64, and the procedural faults in

the handling of Mr. Reed's motion, have prevented Mr. Reed from gaining access to exculpatory

evidence that could demonstrate that he is not guilty of capital murder. Since the State of Texas

provides a means for obtaining post-conviction forensic DNA testing, those procedures must be

imbued with a fundamental fairness. See generally, Osborne, 557 U.S. 52; Skinner v. Switzer,

562 U.S. 521 (2011). The CCA's failures here have deprived Mr. Reed of his liberty interests in

utilizing these state procedures to obtain a declaration of innocence, a new trial, executive

clemency, or other avenues for relief, all in violation of his right to due process of law under the

Fourteenth Amendment to the United States Constitution.



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       Second Claim for Relief: Access to Courts

       82.     Mr. Reed re-alleges and incorporates herein by reference the allegations contained

in all the preceding paragraphs of this Complaint.

       83.     Mr. Reed has a fundamental right to access to courts, rooted in the First and

Fourteenth Amendments, which requires that the states make available the tools necessary for

prisoners to obtain meaningful access to available judicial remedies. State law must ensure that

prisoners like Mr. Reed have meaningful access to post-conviction remedies in order to vindicate

this right. Cf. Bounds v. Smith, 430 U.S. 817, 828 (1977) (holding that prison authorities are

required to provide inmates meaningful legal assistance or resources to ensure their

constitutional right of access to courts be upheld).

       84.     As alleged above, Mr. Reed has available remedies under Texas law for access to

post-conviction DNA testing, and to a declaration of innocence, to relief from his conviction and

to executive clemency based on the exculpatory results of such testing. And, as alleged above,

Texas's restrictive procedure for obtaining access to DNA testing under Article 64, and the

CCA's interpretation thereof, is not adequate, meaningful or effective.

       85.     Mr. Reed incurred actual injury when the CCA denied his request for DNA

testing that could potentially produce exculpatory evidence, and thus provide him with relief

from his conviction.

       86.     As stated above, the CCA's unreasonable interpretation of Article 64 has

prevented Mr. Reed from gaining access to exculpatory evidence that could demonstrate that he

is not guilty of capital murder. These failures have deprived Mr. Reed of his fundamental right

to access to courts under the First and Fourteenth Amendments.




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       Third Claim for Relief: Cruel and Unusual Punishment

       87.     Mr. Reed re-alleges and incorporates herein by reference the allegations contained

in all the preceding paragraphs of this Complaint.

       88.     The Eighth Amendment's prohibition on cruel and usual punishment prevents the

execution of prisoners, like Mr. Reed, who have viable claims that they are innocent of the crime

for which they have been convicted without first affording them the opportunity to prove their

innocence. The CCA has interpreted Article 64 to bar DNA testing even where, as in Mr. Reed's

case, realistically possible exculpatory DNA results from such testing have the capacity to prove

innocence based solely on the State's handling of evidence. Because Texas law does not allow

for DNA testing under circumstances where such testing has the capacity to prove innocence,

Article 64 violates the Eighth Amendment prohibition on cruel and unusual punishment.

       Fourth Claim for Relief: Denial of Opportunity to Prove Actual Innocence

       89.     Mr. Reed re-alleges and incorporates herein by reference the allegations contained

in all the preceding paragraphs of this Complaint.

       90.     By refusing to release the physical evidence for DNA analysis, and thereby

preventing Mr. Reed from gaining access to evidence which can exonerate him, Mr. Reed is

denied the opportunity to make a conclusive showing that he is actually innocent of the crime for

which he is currently incarcerated, in violation of the Eighth Amendment, the right to access to

courts, the right to a remedy, and the Due Process Clause of the Fourteenth Amendment of the

United States Constitution.

       91.     The State will suffer no prejudice by allowing Mr. Reed to access the evidence for

purposes of DNA testing. The testing Mr. Reed seeks may be conducted at a fully accredited

DNA laboratory with the expenses to be paid by his counsel at the Innocence Project, in which



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case it would proceed at no cost to the State. DNA testing is also in the State's interest. Testing

can both determine whether an innocent man is in prison and identify the real murderer.

       Request for Injunctive Relief: Release of Evidence for Testing

       92.     For the reasons stated above, the United States Constitution requires declaratory

relief that the denial of DNA testing to Mr. Reed violates the United States Constitution and that

Mr. Reed be afforded the opportunity to conduct DNA testing on the evidence identified in this

Complaint. Further, the Mr. Reed asks for injunctive relief compelling those Defendants who are

custodians of the evidence identified in this Complaint to release the evidence designated in

Exhibit A for DNA testing.       Accordingly, Mr. Reed asks this Court to grant prospective

injunctive relief compelling the Defendants to release the evidence identified in this Complaint

so that the requested DNA testing can be accomplished.

                                    PRAYER FOR RELIEF

               WHEREFORE, Mr. Reed prays that the Court provide relief as follows:

       1.      A declaration that the CCA's interpretation and application of Article 64 of the

Texas Code of Criminal Procedure in Mr. Reed's case is unconstitutional because:

       a.      Such interpretation and application imposes a fundamentally unfair limitation, in
               violation of due process and the First Amendment right to access to courts, upon
               Mr. Reed's access to statutory remedies available under Texas law, and deprives
               Mr. Reed of adequate, effective and meaningful access to such remedies. Those
               remedies include: (1) the statutory right to access post-conviction DNA testing
               pursuant to Article 64; (2) the statutory right to a declaration of innocence
               pursuant to Article 64.04 of the Texas Code of Criminal Procedure based on
               exculpatory DNA results; (3) the statutory right to habeas relief for innocence and
               other constitutional violations pursuant to Article 11.071 of the Texas Code of
               Criminal Procedure based on exculpatory DNA evidence; (4) the statutory right to
               a new trial pursuant to Article 11.073 of the Code of Criminal Procedure based on
               exculpatory DNA results; and (5) executive clemency based on exculpatory DNA
               results.

       b.      Such interpretation and application denies Mr. Reed the protection of the Eighth
               Amendment of the Unites States Constitution, which prohibits the execution of


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               persons who are actually innocent of the crime for which they are convicted and
               requires that state laws providing persons facing the death penalty with a right to
               seek post-conviction DNA testing be construed and applied in a manner that
               allows a convicted person to access and test evidence where realistically possible
               exculpatory results can prove innocence.

       2.      A preliminary and permanent injunction requiring Defendants to produce and

release for DNA testing the evidence specified in Exhibit A for DNA testing, pursuant to an

appropriate protocol regarding chain of custody and preservation and return of such evidence

after testing has been completed;

       3.      Reasonable attorney's fees, costs of suit and such other and further relief as this

Court deems just and proper.



Dated: August 8, 2019                        Respectfully submitted,


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